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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


 WSOU INVESTMENTS, LLC d/b/a
 BRAZOS LICENSING AND                            Civil Action No.: 6:20-cv-00480-ADA
 DEVELOPMENT,                                    Civil Action No.: 6:20-cv-00481-ADA
                                                 Civil Action No.: 6:20-cv-00486-ADA
      Plaintiff,

               v.
                                                 JURY TRIAL DEMANDED
 DELL TECHNOLOGIES INC.,
 DELL INC., EMC CORPORATION,
 AND VMWARE, INC.,

      Defendants.


        JOINT NOTICE REGARDING AGREEMENT TO EXTEND DEADLINE

TO THE HONORABLE COURT:

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Plaintiff”)

and Defendants Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware, Inc.

(“Defendants”) (collectively, “Parties”), pursuant to the Court’s Amended Standing Order

Regarding Joint or Unopposed Request to Change Deadlines, submit this Joint Notice to

memorialize their agreement to extend case deadlines. The Parties have agreed to adjust the

briefing schedule on Plaintiff’s Motion for Leave to Amend Infringement Contentions for U.S.

Patent Nos. 7,539,133, 9,164,800, and 7,092,360 (6:20-cv-00480-ADA, ECF No. 217; 6:20-cv-

00481-ADA, ECF No. 217; and 6:20-cv-00486-ADA, ECF No. 218) (“Motion”) as follows:

           Item                   Current Deadline                Amended Deadline
 Brazos’s Reply in                 October 5, 2022                 October 10, 2022
 support of Motion
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        The above briefing extension does not change the date of any hearing, trial, or other Court

date, or extend any deadline of a final submission that affects the Court’s ability to hold a scheduled

hearing, trial, or Court event.



 Dated: October 3, 2022                       RESPECTFULLY SUBMITTED,

                                               By: /s/ Jonathan K. Waldrop
                                                   Jonathan K. Waldrop (CA Bar No. 297903)
                                                   (Admitted in this District)
                                                   jwaldrop@kasowitz.com
                                                   Darcy L. Jones (CA Bar No. 309474)
                                                   (Admitted in this District)
                                                   djones@kasowitz.com
                                                   Marcus A. Barber (CA Bar No. 307361)
                                                   (Admitted in this District)
                                                   mbarber@kasowitz.com
                                                   Heather S. Kim (CA Bar No. 277686)
                                                   (Admitted in this District)
                                                   hkim@kasowitz.com
                                                   John W. Downing (CA Bar No. 252850)
                                                   (Admitted in this District)
                                                   jdowning@kasowitz.com
                                                   ThucMinh Nguyen (CA Bar No. 304382)
                                                   (Admitted in this District)
                                                   tnguyen@kasowitz.com
                                                   Chen Jia (CA Bar No. 281470)
                                                   (Admitted pro hac vice)
                                                   cjia@kasowitz.com
                                                   KASOWITZ BENSON TORRES LLP
                                                   333 Twin Dolphin Drive, Suite 200
                                                   Redwood Shores, California 94065
                                                   Telephone: (650) 453-5170
                                                   Facsimile: (650) 453-5171

                                                    Paul G. Williams (GA Bar No. 764925)
                                                    (Admitted in this District)
                                                    pwilliams@kasowitz.com
                                                    KASOWITZ BENSON TORRES LLP
                                                    1230 Peachtree Street N.E., Suite 2445
                                                    Atlanta, Georgia 30309
                                                    Telephone: (404) 260-6080
                                                    Facsimile: (404) 260-6081
Case 6:20-cv-00480-ADA-DTG Document 225 Filed 10/03/22 Page 3 of 5



                                 Joshua A. Whitehill (NY Bar No. 4766473)
                                 (Admitted pro hac vice)
                                 jwhitehill@kasowitz.com
                                 Hershy Stern (NY Bar No. 4631024)
                                 (Admitted pro hac vice)
                                 hstern@kasowitz.com
                                 Julianne Laporte (NY Bar No. 5547906)
                                 (Admitted pro hac vice)
                                 jlaporte@kasowitz.com
                                 Howard L. Bressler (NY Bar No. 2487379)
                                 (Admitted pro hac vice)
                                 hbressler@kasowitz.com
                                 Shelley Ivan (NY Bar No. 4338067)
                                 (Admitted pro hac vice)
                                 sivan@kasowitz.com
                                 Noah P. Dorman (DC Bar No. 1779821)
                                 (Admitted pro hac vice)
                                 ndorman@kasowitz.com
                                 KASOWITZ BENSON TORRES LLP
                                 1633 Broadway
                                 New York, NY 10019
                                 Telephone: (212) 506-1700
                                 Facsimile: (212) 506-1800

                                 Mark D. Siegmund (TX Bar No. 24117055)
                                 mark@swclaw.com
                                 Craig D. Cherry (TX Bar No. 24012419)
                                 craig@swclaw.com
                                 Justin Allen (TX Bar No. 24081977)
                                 justin@swclaw.com
                                 STECKLER WAYNE CHERRY & LOVE
                                 PLLC
                                 8416 Old McGregor Road
                                 Waco, TX 76712
                                 Telephone: (254) 651-3690
                                 Facsimile: (254) 651-3689

                                 Gregory Phillip Love (TX Bar No. 24013060)
                                 greg@swclaw.com
                                 STECKLER WAYNE CHERRY & LOVE
                                 PLLC
                                 107 East Main Street
                                 Henderson, TX 75652
                                 Telephone: (903) 212-4444
                                 Facsimile: (903) 392-2267

                                 Attorneys for Plaintiff
Case 6:20-cv-00480-ADA-DTG Document 225 Filed 10/03/22 Page 4 of 5



                             By: /s/ Brian A. Rosenthal
                                  Barry K. Shelton
                                  Texas State Bar No. 24055029
                                  bshelton@winston.com
                                  WINSTON & STRAWN LLP
                                  2121 North Pearl Street, Ste. 900
                                  Dallas, TX 75201
                                  Telephone: 214.453.6407
                                  Facsimile: 214.453.6400

                                  Benjamin Hershkowitz
                                  bhershkowitz@gibsondunn.com
                                  Brian A. Rosenthal
                                  brosenthal@gibsondunn.com
                                  Allen Kathir
                                  akathir@gibsondunn.com
                                  GIBSON, DUNN & CRUTCHER LLP
                                  200 Park Ave.
                                  NY, NY 10166-0193
                                  Telephone: 212.351.4000
                                  Facsimile: 212.351.4035

                                  Y. Ernest Hsin
                                  ehsin@gibsondunn.com
                                  Jaysen S. Chung
                                  jschung@gibsondunn.com
                                  GIBSON, DUNN & CRUTCHER LLP
                                  555 Mission St., Ste. 3000
                                  San Francisco, CA 94105-0921
                                  Telephone: 415.393.8200
                                  Facsimile: 415.393.8306

                                  Ryan K. Iwahashi
                                  riwahashi@gibsondunn.com
                                  GIBSON, DUNN & CRUTCHER LLP
                                  1881 Page Mill Rd.
                                  Palo Alto, CA 94304-1211
                                  Telephone: 650.849.5300
                                  Facsimile: 650.849.5333

                                  Emily M. Whitcher
                                  ewhitcher@gibsondunn.com
                                  Andrew P. Blythe
                                  ablythe@gibsondunn.com
                                  GIBSON, DUNN & CRUTCHER LLP
                                  3161 Michelson Drive
                                  Irvine, CA 92612-4412
                                  Telephone: 949.451.3800
                                  Facsimile: 949.451.4220

                                  Attorneys for Defendants
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                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

to all counsel of record, on this 3rd day of October, 2022, via the Court’s CM/ECF system.

                                                    /s/ Jonathan K. Waldrop
                                                        Jonathan K. Waldrop
